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Case 04-03774

Kids Count Entertainment, L.L.c.
Business Plan Projections

Statement of Income

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1998 1999 2000 2001 2002
Sales Revenues 669,599 7,321,471 19,199,700 31,048,700 46,593,826
Operating Expenses:
Cost of Goods Sold 66,919 691,611 1,908,048 3,094,972 4,418,556
Sales Rep Commissions 5,463 22,241 97,922 219,610 308,170
Royalties 1,300 21,350 54,100 74,020 85,240
New packaging - Spuzzled? : 0
Credit Card Expense @2.25% 0.0225 12,766 164,733 431,993 698,596 1,048,361
Debt Service 34,000
Accounts Payable-Prior bills 24,500
Warehousing 1,800 3,260 3,721 4,220 4,759
Freight 9,356 40,425 174,720 368,410 529,900
Development Expenses 25,000 635,000 690,000 840,000 840,000
TV Pilot
Adv. Production Expenses 75,000 180,000 180,000 240,000 240,000
Telemarketing 30,938 622,969 1,628,438 2,497,500 3,567,656
Advertising/Eicoff Retainer 203,300 1,500,000 1,700,000 1,950,000 2,050,000
Total Operating Expenses 490,341 3,881,589 6,868,942 9,987,327 13,092,642
Operating Profit 179,258 3,439,882 42,330,758 21,061,373 33,501,184
General & Administrative:
Payroll 334,720 312,000 395,000 397,000 402,080
Payroll Taxes 20,017 13,744 20,559 20,848 21,373
Benefits 7,343 6,741 7,078 7,432 7,804
COO Relocation 25,000 0 0 0 0
Phone 14,400 15,120 15,876 16,670 17,503
Utilities 4,800 5,040 5,292 5,557 5,834
Rent 15,750 0 0 0 0
Insurance 5,020 6,766 9,155 9,613 10,093
Travel 22,500 12,000 20,000 24,000 24,000
Public Relations 0 30,000 60,000 60,000 60,000
Computer 8,750 0 0 2,000 2,000
Supplies 4,500 2,400 2,400 2,400 2,400
Web/Internet Presence Expansion 0 8,000 8,000 8,000 8,000
Technical Support 14,000 25,200 26,460 27,783 29,172
Professional Fees 36,000 12,000 12,000 12,000 12,000
Total G&A 512,800 449,011 581,820 §93,302 602,260
Net Income (333,542) 2,990,871 11,748,939 20,468,071 32,898,924
Increase/(Decrease) Loans/Investment
beginning bank balance 1/1/98
cashflow : (333,542) 2,657,329 14,406,268 34,874,338 67,773,262

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~ Kids Count Entertainment, L.L.C. exhibit A Page 16 of 25
Business Plan Projections wit ‘
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Statement of income iv Ki
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1998 1998 1998

Sales Revenues 23,355 522,605 669,599
Operating Expenses:
Cost of Goods Sold 5,080 34,645 66,919

~ Sales Rep Commissions 525 ‘525 5,463
Royalties 0 1,300 1,300
New packaging - Spuzzled? 0 0 0
Credit Card Expense @2.25% 0.0225 525 11,759 12,766
Debt Service 1,600 1,600 34,000
Accounts Payable-Prior bills 10,000 10,000 24,500
Warehousing 0 0 1,800
Freight 1,400 1,400 ‘9,356 ~
Development Expenses 5,000 0 25,000 ‘an
TV Pilot 0 0 0 a
‘Adv. Production Expenses 75,000 , 0 75,000 “
Telemarketing 0 30,938 30,938
Advertising/Eicoff Retainer 0 200,000 203,300
Total Operating Expenses 99,130 292,166 490,341
Operating Profit (75,775) 230,439 179,258
General & Administrative: 0
Payroll 23,333 23,333 334,720 A\e opnene! Qu
Payroll Taxes 591 591 20,017 é : .
Benefits 535 535 7,343
COO Relocation 0 0 25,000
Phone 1,200 1,200 14,400
Utilities 400 400 4,800
Rent 0 0 15,750
Insurance 535 535 5,020
Travel 1,500 1,500 22,500
Public Relations 0 0 oO
Computer 0 0 8,750
Supplies ‘ 200 200 4,500
Web/internet Presence Expansion 0 0
Technical Support 2,000 2,000 14,000
Professional Fees 3,000 3,000 36,000
Total G&A 33,294 33,294 512,800
Net Income . (109,070) 197,145 (333,542)

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Increase/(Decrease) Loans/Investment 375,000 . {
beginning bank balance 1/1/98
cashflow 291,928 489,073

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Kids Count Entertainment, L.L.C.
Business Pian Projections

Statement of income

TOTAL
1998

Sales Revenues 61,039 28,955 20,790 558,815 669,599
Operating Expenses:
Cost of Goods Sold 11,545 6,196 5,643 43,535 66,919
Sales Rep Commissions 3,433 805 175 1,050 5,463
Royalties 0 0 0 1,300 1,300
New packaging - Spuzzled? 0 0 0 0 0
Credit Card Expense @2.25% 0.0225 0 0 193 12,573 12,766
Debt Service 29,200 4,800 34,000
Accounts Payable-Prior bills 0 0 4,500 20,000 24,500
Warehousing 675 675 450 0 1,800
Freight 2,268 1,680 1,558 3,850 9,356
Development Expenses 0 20,000 0 5,000 25,000
TV Pilot
Adv. Production Expenses QO 0 0 75,000 75,000
Telemarketing 0 0 0 30,938 30,938
Advertising/Eicoff Retainer 0 0 0 203,300 203,300
Total Operating Expenses 17,921 29,356 41,718 401,346 490,341
Operating Profit 43,118 (401) (20,928) 157,469 179,258
General & Administrative:
Payroll 80,598 120,135 66,487 67,500 334,720
Payroll Taxes 7,865 8,733 1,935 1,484 20,017
Benefits 2,000 2,130 1,609 1,605 7,343
COO Relocation 0 10,000 15,000 0 25,000
Phone 3,600 3,600 3,600 3,600 14,400
Utilities 1,200 1,200 1,200 1,200 4,800
Rent 6,750 6,750 2,250 0 15,750
Insurance 960 960 1,495 1,605 5,020
Travel 3,000 9,000 6,000 4,500 22,500
Public Relations Qo 0 0 0 0
Computer 750 6,000 2,000 0 8,750
Supplies 1,500 1,500 900 600 4,500
Web/Internet Presence Expansion 0 0
Technical Support 0 2,000 6,000 6,000 14,000
Professional Fees 9,000 9,000 9,000 9,000 36,000
Total G&A 117,223 181,008 117,475 97,094 512,800
Net Income (74,105) (181,409) (138,403) 60,375 (333,542)
Increase/(Decrease) Loans/Investment
beginning bank balance 1/1/98 433,715
cashflow : : 359,610 178,201 39,797 100,173

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Kids Count Entertainment, L.LC. exhibitA Page 18 of 25
Business Plan Projections

Statement of ncome

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1999 1999 1999 1999 1999

Sales Revenues 798,906 561,445 2,223,805 3,737,315 7,321,471
Operating Expenses:
Cost of Goods Soild §3,383 42,126 211,824 384,279 691,611
Sales Rep Commissions 1,229 1,754 4,180 15,078 22,241
Royalties 1,560 1,430 6,720 11,640 21,350
New packaging - Spuzzied? 6000
Credit Card Expense @2.25% 0.0225 17,975 12,633 50,036 84,090 164,733
Debt Service
Accounts Payable-Prior bills
Warehousing 709 851 351 851 3,260
Freight 2,555 3,045 12,565 22,260 40,425
Development Expenses 0 325,000 310,000 0 635,000
TV Pilot
Adv. Production Expenses 30,000 30,000 60,000 60,000 180,000
Telernarketing 50,625 37,969 191,250 343,125 622,969
Advertising/Eicoff Retainer 300,000 200,000 400,000 600,000 1,500,000
Total Operating Expenses 464,036 654,807 1,247,425 4,521,321 3,881,589
Operating Profit 334,870 (93,362) 976,380 2,215,994 3,439,882
General & Administrative:
Payroll 70,500 70,500 85,500 85,500 312,000
Payroll Taxes 5,540 2,537 3,001 2,666 13,744
Benefits 1,685 1,685 1,685 1,685 6,741
COO Relocation 0 Qo 0 0 0
Phone 3,780 3,780 3,780 3,780 15,120
Utilities 1,260 1,260 1,260 1,260 5,040
Rent 0 0 0 QO 0
Insurance 1,605 1,606 1,605 1,950 6,766
Travel 3,000 3,000 3,000 3,000 12,000
Public Relations 0 0 15,000 15,000 30,000
Computer 0 Oo 0 0 0
Supplies 600 600 600 600 2,400
Web/Interet Presence Expansion 2,000 2,000 2,000 2,000 8,000
Technical Support 6,300 6,300 6,300 6,300 25,200
Professional Fees 3,000 3,000 3,000 3,000 * 12,000
Total G&A 99,270 96,269 126,731 126,741 449,011
Net income 235,599 (189,630) 849,649 2,089,253 2,990,871

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Kids Count Entertainment, L.L.c.
Business Plan Projections

Statement of Income

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2000 2000 2000
Sales Revenues 2,680,810 1,718,710 5,810,695 8,989,485 19,199,700
Operating Expenses:
Cost of Goods Sold 298,980 183,763 565,267 860,039 1,908,048
Sales Rep Commissions 11,821 9,986 27,030 49,086 97,922
Royatties 8,880 5,820 15,640 23,760 54,100
New packaging ~ Spuzzied?
Credit Card Expense @2.25% 0.0225 60,318 38,671 130,741 202,263 431,993
Debt Service
Accounts Payable-Prior bills :
Warehousing 744 893 1,042 1,042 3,721
Freight 26,180 20,860 52,815 74,865 174,720
Development Expenses 175,000 345,000 170,000 0 690,000
TV Pilot
Adv. Production Expenses 30,000 30,000 60,000 60,000 180,000
Telemarketing 255,938 151,875 483,750 736,875 1,628,438
Advertising/Eicoff Retainer 300,000 200,000 500,000 700,000 1,700,000
Total Operating Experises 1,167,860 986,867 2,006,285 2,707,930 6,868,942
Operating Profit 1,512,950 731 843 3,804,411 6,281 ,555 12,330,758
General & Administrative:
Payroll 98,750 98,750 98,750 98,750 395,000
Payroll Taxes 8,887 4,313 3,679 3,679 20,559
Benefits 1,770 1,770 1,770 1,770 7,078
‘COO Relocation 0 0 0 0 0
Phone 3,969 3,969 3,969 3,969 15,876
Utilities 1,323 1,323 1,323 1,323 5,292
Rent 0 0 0 0 0
insurance 2,030 2,375 2,375 2,375 9,155
Travel 5,000 5,000 5,000 5,000 20,000
Public Relations 15,000 15,000 15,000 15,000 60,000
Computer 0 Q 0 0 Q
Supplies 600 600 600 600 2,400
Web/internet Presence Expansion 2,000 2,000 2,000 2,000 8,000
Technical Support 6,615 6,615 6,615 6,615 26,460
Professional Fees 3,000 3,000 3,000 3,000 12,000
Total G&A 148,943 444,715 144,081 144,081 581,820
Net income 1,364,007 587,128 3,660,330 6,137,474 | 11,748,939
increase/(Decrease) Loans/investment
|beginning bank balance 1/1/98 :
|cashflow 4,837,951 5,425,079 9,085,409 15,222,883

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Business Plan Projections

Statement of Income

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[_@tRT | 1... Qin 4 TOTAL
2001 2001 2001

Sales Revenues 5,279,380 13,321,345 31,048,700
Operating Expenses:
Cost of Goods Sold 550,396 336,980 903,296 1,304,300 3,094,972
Sales Rep Commissions 30,544 27,404 62,979 98,683 219,610
Royalties 14,760 6,380 21,720 31,160 74,020
New packaging - Spuzzled? :
Credit Card Expense @2.25% 118,786 74,512 205,567 299,730 698,596
Debt Service
Accounts Payable-Prior bills
Warehousing 781 1,094 1,250 1,094 4,220
Freight 62,720 50,330 109,620 145,740 368,410
Development Expenses 175,000 420,000 245,000 Q 840,000
TV Pilot
Adv. Production Expenses 30,000 30,000 90,000 90,000 240,000
Telemarketing 461,250 250,313 728,438 1,057,500 2,497,500
Advertising/Eicoff Retainer. 350,000 200,000 600,000 800,000 1,950,000
Total Operating Expenses 1,794,237 1,397,013 2,967,870 3,828,207 9,987,327
Operating Profit 3,485,143 1,914,642 6,168,450 9,493,138 21,061,373
General & Administrative:
Payroll 99,250 99,250 99,250 99,250 397,000
Payroll Taxes 8,925 4,488 3,718 3,718 20,848
Benefits 1,858 1,858 1,858 1,858 7,432
COO Relocation 0 0 0 0 0
Phone 4,167 4,167 4,167 4,167 16,670
Utilities 1,389 1,389 1,389 1,389 §,557
Rent 0 0 0 0 0
Insurance 2,132 2,494 2,494 2,494 9,613
Travel 6,000 6,000 6,000 6,000 24,000
Public Relations 15,000 15,000 15,000 15,000 60,000
Computer 500 500 500 500 2,000
Supplies 600 600 600 600 2,400
Web/intemet Presence Expansion 2,000 2,000 2,000 2,000 8,000
Technical Support 6,946 6,946 6,946 6,946 27,783
Professional Fees 3,000 3,000 3,000 3,000 12,000
Total G&A 151,767 147,692 146,922 146,922 593,302
Net Income 3,333,376 1,766,950 6,021,529 9,346,216 20,468,071
increase/(Decrease) Loans/Investment
beginning bank balance 1/1/98
cashflow 18,556,259 20,323,209 26,344,737 35,690,953

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Kids Count Entertainment, L.L.c.
Business Plan Projections

Statement of income

QTRt QTR 2 ~ OTA
2002 2002 2002
Sales Revenues 10,126,770 4,684,426 12,699,725 19,082,905 46,593,826
Operating Expenses:
Cost of Goods Sold 936,039 476,585 1,231,713 1,774,220 4,418,556
Sales Rep Commissions 46,666 42,191 89,269 130,045 308,170
Royatties 17,240 7,520 25,480 35,000 85,240
New packaging - Spuzzled?
Credit Card Expense @2.25% 0.0225 227,852 105,400 285,744 429,365 1,048,361
Debt Service
Accounts Payable-Prior bills
Warehousing 985 1,313 1,313 1,149 4,759
Freight 94,950 76,510 156,555 201,845 529,900
Development Expenses 175,000 420,000 245,000 0 840,000
TV Pilot
Adv. Production Expenses 30,000 30,000 90,000 90,000 240,000
Telemarketing 812,813 341,719 975,938 1,437,188 3,567,656
Advertising/Eicoff Retainer 350,000 200,000 650,000 850,000 2,050,000
Total Operating Expenses 2,691,583 1,701,236 3,751,011 4,948,812 13,092,642
Operating Profit 7,435,187 2,983,190 8,948,714 14,134,093 33,501,184
General & Administrative:
Payroll 100,520 100,520 100,520 100,520 402,080
Payroll Taxes 9,030 4,714 3,615 3,815 21,373
Benefits . 1,951 1,951 1,951 1,951 7,804
COO Relocation 0 0 0 oO 0
Phone 4,376 4,376 4,376 4,376 17,503
Utilities 1,459 1,459 1,459 1,459 5,834
Rent 0 0 0 0 0
insurance 2,238 2,618 2,618 2,618 10,093
Travel 6,000 6,000 6,000 8,000 24,000
Public Relations 15,000 15,000 15,000 15,000 60,000
Computer 500 500 500 500 2,000
Supplies 600 600 600 §00 2,400
Web/internet Presence Expansion 2,000 2,000 2,000 2,000 8,000
Technical Support 7,293 7,293 7,293 7,293 29,172
Professional Fees 3,000 3,000 3,000 3,000 |. 12,000
Total G&A 153,966 150,031 149,132 149,132 602,260
Net Income 7,281,220 2,833,159 8,799,582 13,984,962 32,898,924
Increase/(Decrease) Loans/investment
beginning bank balance 1/1/98
cashflow 42,972,174 45,805,333 54,604,916 68,589,877

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2001).

e The Company currently sells one workout video along with music (CD and cassette) .
and plans to release two videos along with music cassette/CD in 1999 (3™, 4"
quarters). Plans for the release of new titles include two per year (same release
profile) in each year 2000 through 2002. CDs and cassettes will be bundled with
videos when sold directly but will be sold separately via retail stores and catalogs.
Additionally, unit and sales numbers only reflect two new releases of each product
category although the company plans to produce and release three titles.
Developmental costs reflect the three new releases, per category, each year.

¢ The Company plans to release two hard cover titles per year (one 3“ quarter, one 4”
quarter) in each year 1999 through 2002. A soft cover cookbook will be released in
the 3“ quarter of 1999. .

e Unit sales of CD-ROM titles are typically seasonal with a relatively strong 1* quarter
(reflecting computer purchases made during the holiday season), a relatively slower
2™ quarter, a 3" quarter similar to the 1* quarter and the 4 quarter showing the
strongest sales. Although new releases generally show relatively strong sales in the
first months of release, the projections conservatively assume strong brand awareness
does not materialize until two quarters have elapsed. During the first quarter of
release unit sales are projected to be approximately 75-80% of normal, growing to 85-
90% in the second quarter. Similar growth profiles are assumed for both videos and
books.

e Unit sales of software (CD-ROM’s) sold directly will grow 10-20% annually (quarter
vs. comparable quarter one year prior) for the first three years and thereafter will fade
20-25% annually. Retail unit sales are assumed not to fade, but the retail price will be
reduced 33% when the title reaches its third year of existence. Catalog sales are
assumed to fade 10-20% in the third year of life.

e The Company plans to hire a VP Sales & Marketing 1* quarter 2000 and plans to
capitalize on brand awareness built through direct sales beginning 3" quarter 2000;
normal rate of sales will be achieved in 1* quarter 2001.

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e Manufacturing costs will continue to drop as the market becomes more competitive,
but for conservatism, cost estimates have been held constant over the life of the Plan.

e¢ CD-ROMs (software) and CDs (music) are costed assuming through the life of the

product the minimal order quantity (2500 lots) will be purchased from the supplier
due to quick turnaround time and to facilitate new version releases. In reality, once
the title is mature, the release of newer versions will be less frequent, permitting
larger order quantities and lowering the cost of goods sold by 2-3%. Other
components, e.g., manual, jewel case, box, etc. are ordered in larger quantities which
normally represent less than one quarter’s shipments.

e When bundling titles via direct sales channel, COG’s reflect fully loaded CD-ROM’s
packaged in retail box. Products will be distributed in minimal packaging costing
roughly .76 vs. $2.54 per unit. Projections reflect higher COG’s.

¢ Music for video/music packages (direct sales) is costed conservatively, assuming
50% CDs (40% higher cost vs. cassettes) and 50% cassettes although the actual sales
split is likely to be similar to retail, i.e. 60-67% cassettes. This would have the impact
of increasing gross margins on this product by approximately 3-5%.

Other Income (Expense)

e Revenues from OEM bundling have been $13k (Dec ’97) and between $5.6K-$3.5K.

reflected in Unit Sales.
e The Company has recently struck a deal with NAC Marketing to” sell all current
products during a 30-minute radio informercial’ NAC Marketing anticipates sales
growing to 10,000 packages producing very substantial reveunes, between $280,000 -
$357,000 per month. No figures from NAC are reflected in the plan — since this deal
was just solidified. —

¢ The Company projects that funds generated by operations will be sufficient to meet
all working capital requirements and operating expenses beginning in June of 1999.

e Additionally, the cash generated from operations during the years 1999 through 2002
will produce interest income of approximately $9K in 1999, $240K in 2000, $890K
in 2001, and $2.0 million in 2002, again assuming no capital distributions are made.
(NEED TO CHECK) The financial projections, however, do not include any
interest income throughout the Plan period.

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Operating Expenses ©

Sales Rep commissions of 5% of revenues for retail, 10% for QVC.

Artist’s royalties of $.0350 per song if Operating Profit is 75-100% of retail price
$.0175 per song if Operating Profit is 50-75% of retail price
$.0000 if Operating Profit is below 50% of retail price

factored down to $.02 per song (13 songs on Home CD, 10 songs on other
CDs/cassettes).

Freight costs are based on weight of shipments for catalog and retail sales only.
Direct and QVC Sales customers will pay for freight and shipping and handling.

Warehousing costs for 1998 are based on the number of pallets used to store goods.
The quantities of pallets used are based on the volume of sales and assume the current
capacity is adequate to support a sales volume of $4-6 million per quarter. Based on
assumptions used in the COGS estimates, up to a quarter of the annual sales may be
stored at one time, although inventory will be closely managed and duplicated “just-
in-time”. The Company’s operations and warehousing are located in a 25,000 square
foot facility. The company is not being charged for warehousing.

Development costs (includes design and film for packaging):

Software (CD-ROM)--$150K; expensed during two months prior to first
revenues from title TT
Spuzzled? (CD-ROM)--$50K expenses in 1998 2" quarter, $20K(3™
quarter

Music (CD/cassette)--$50K; expensed during three months prior to first
revenues

Video--$50K; expensed during three months prior to first revenues

Books (Hard Cover)--$40K expensed during three months prior to first
revenues

Books (Soft Cover)--$15K expensed during three months prior to first
revenues a

Kids Count Workout 2 (Video)--$50K expensed in 1999 24 quarter

Kids Count Workout 2 (Music)--$25K expensed in 1999 24 quarter;
included with video

Existing titles -- previously developed in 1997

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re assumed to be $30K per commercial spot based on quotes given

the Comp ots during the 4" quarter of

1998. Six spots during 1999 and 2000, seven during 2001 and 2002.

Telemarketing expenses of $2.81 per unit sale of direct sale products are assumed.
This reflects a cost of $2.25 per call handled and an 80% conversion rate.

General & Administrative Expenses —

The Company currently employs a President.

Payroll expenses are based on current headcount and the hire of:

° Operations Manger (11/98)
e VP. Sales & Marketing (6/99)
e Producer (1/2000)

Payroll taxes are based on current rates and bases which are assumed to rise by 4%
annually. No increases in Federal and State unemployment tax rates or bases were
assumed. The maximum experience rate for State unemployment taxes was assumed.

Benefits include individual health insurance coverage. The President receives family
coverage. Expenses are based on current rates, annual 5% increases, and the
assumption that all future hires are females (to reflect the higher insurance cost). (All
employees have a ninety-day period before insurance is in effect and will receive
individual coverage.)

All other G&A costs are assumed to be expensed. Production and development costs
which may be capitalized over the expected useful life of the products are assumed to
be expensed to reflect a more conservative income statement.

Please Note

Need to make an adjustment in “debt service” 1999. Please speak with Vicki regarding this.
Thanks!

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